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 Attorney for Plaintiff
 Bodyguard Productions, Inc.,

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Bodyguard Productions, Inc.,               )   Case No.: 18-cv-298
                                             )   (Copyright)
                                             )
                                             )   COMPLAINT; EXHIBITS 1-3
                      Plaintiff,             )
      vs.                                    )   (1) DIRECT COPYRIGHT
                                             )       INFRINGEMENT
  MYLES BALDRIDGE and                        )
  DOE 1, DOE 2, DOE 3, DOE 4,                )   (2) CONTRIBUTORY
  DOE 5 and DOE 6                            )       COPYRIGHT
                                             )       INFRINGEMENT
                      Defendant.             )
                                             )

                                      COMPLAINT

           Plaintiff Bodyguard Productions, Inc. files this Complaint against Defendants

 DOE 1, DOE 1a, DOE 2, DOE 3, DOE 4, DOE 5, and DOE 6 (hereafter: “DOES 1-

 6”) and MYLES BALDRIDGE (collectively: “Defendants”) and alleges as follows:

                           I.      NATURE OF THE ACTION



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            1.   This matter arises under the United States Copyright Act of 1976, as

 amended, 17 U.S.C. §§ 101, et seq. (the “Copyright Act”).

            2.   The Plaintiff alleges that Defendants are liable for: (1) direct copyright

 infringement in violation of 17 U.S.C. §§ 106 and 501; and, (2) contributory

 copyright infringement.

                          II.    JURISDICTION AND VENUE

            3.   This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

            4.   Defendants either reside in, solicit, transact, or are doing business

 within this jurisdiction, and have committed unlawful and tortious acts both within

 and outside this jurisdiction with the full knowledge that their acts would cause

 injury in this jurisdiction. As such, Defendants have sufficient contacts with this

 judicial district to permit the Court’s exercise of personal jurisdiction over them.

            5.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the

 claims occurred in this District; and, (b) the Defendants reside, and therefore can be

 found, in this State. Additionally, venue is proper in this District pursuant 28 U.S.C.

 § 1400(a) (venue for copyright cases), because the Defendants or Defendants’ agents

 reside or may be found in this District.

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                                      III.     PARTIES

                        A. The Plaintiff, Bodyguard Productions, Inc.

            6.    The Plaintiff Bodyguard Productions, Inc. (“Bodyguard”) is a

 corporation organized and existing under the laws of the State of Nevada.

            7.    Bodyguard is the owner of the copyright for the motion picture in the

 Work “The Hitman’s Bodyguard”, (hereafter: the “Work”) a major motion picture

 released in 2017.

            8.    The Work is an action movie directed by Patrick Hughes, and stars

 Ryan Reynolds as the world’s top bodyguard, and Samuel L. Jackson as a hitman

 and his new client. The Work tells the story of how the hitman and the bodyguard

 must put aside their differences and work together so that the hitman can testify at

 the International Court of Justice.

                                             F. The Defendants

            9.    Upon information and belief, Defendant MYLES BALDRIDGE is an

 adult male over 21 years of age and a resident of Maui County.

            10.   The Defendants MYLES BALDRIDGE and DOES 1-6 are members

 of a group of BitTorrent users or peers whose computers are collectively

 interconnected for the sharing of a particular unique file, otherwise known as a

 “swarm”. The particular file a BitTorrent swarm is associated with has a unique

 “hash”           number,       which          in    this    case      is:      SHA1:
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 79C0CB48CD77946FC20AEA3B9F80DE605FD7A06C                    (the   “Unique     Hash

 Number”) shown in Exhibit “1”.

            11.   KIRK BALDRIDGE is the subscriber and operator of the WiFi

 computer network that provides Internet service at Internet Protocol (IP) address

 72.234.136.95 on 2017-11-14 21:57:54 UTC.

            12.   Upon information and belief, KIRK BALDRIDGE is an adult male

 over 21 years of age, a resident of Maui County and the father of Defendant MYLES

 BALDRIDGE.

            13.   The Defendant MYLES BALDRIDGE infringed the Work on 2017-

 11-14 21:57:54 UTC at IP address 72.234.136.95.

            14.   Upon information and belief, Defendant MYLES BALDRIDGE’s

 residence is a stand-alone home with limited neighbors and it is unlikely a third

 party was able to obtain the consistent access for the observed activity through

 hacking or any other means making the Defendant MYLES BALDRIDGE occupant

 and permissive user of the Internet service at IP address 72.234.136.95.

            15.   Defendant MYLES BALDRIDGE was confirmed consistently

 downloading, copying and/or sharing copies of the Work via the Unique Hash

 Number over 700 times between 11/13/2017 3:43:00 and 12/13/2017 6:31:00 UTC.

            16.   Defendant MYLES BALDRIDGE was confirmed downloading,

 copying and/or sharing copies of the motion picture Dallas Buyer’s Club via Unique

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 Hash Number F18A60DB02EC3B55C18924F47955DE766DACC537 over 70

 times between 4/17/2016 11:21:00 UTC and 4/18/2016 7:39:00 UTC.

            17.   Defendant MYLES BALDRIDGE was confirmed downloading,

 copying and/or sharing copies of the motion picture Criminal via Unique Hash

 Number F4450BFCC1E70FD72A13A71BE8CF7B4385053AA2 over 800 times

 between 7/14/2016 1:58:00 UTC and 8/26/2016 4:10:00 UTC.

            18.   Defendant MYLES BALDRIDGE was confirmed downloading,

 copying and/or sharing copies of the motion picture I am Wrath via Unique Hash

 Number 3AF381ACF3160E5B3ADE434F1F52DA32565E7DE2 over 40 times

 between 1/20/2017 9:12:00 UTC and 1/24/2017 7:22:00 UTC.

            19.   Defendant MYLES BALDRIDGE was confirmed downloading,

 copying and/or sharing copies of the motion picture Playing It Cool via Unique

 Hash Number B76DAF0EC9A158F16156D18A026FFF91B7FFA3D2 over 500

 times between 5/18/2017 12:29:00 UTC and 6/17/2017 3:24:00 UTC.

            20.   Plaintiff’s agent sent to the ISP of KIRK BALDRIDGE at least 8

 notices per 17 U.S.C. 512(a) of the Digital Millennium Copyright Act (“DMCA

 notice”) requesting Defendant to stop the infringement of the Work on 11/15/2017,

 11/16/2017, 11/18/2017, 11/19/2017, 11/20/2017, 11/21/2017, 11/22/2017,

 11/23/2017, 11/24/2017, 11/27/2017, 11/28/2017, 11/29/2017, 11/30/2017,

 12/01/2017, 12/02/2017, 12/03/2017, 12/04/2017, 12/05/2017, 12/06/2017,

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 12/07/2017, 12/08/2017 and 12/11/2017, respectively.

            21.   Upon information and belief, the ISP sent these DMCA notices to

 KIRK BALDRIDGE who received these notices.

            22.   Defendant MYLES BALDRIDGE continued to infringe the Work

 after KIRK BALDRIDGE received all or some of the notices.

            23.   Defendant MYLES BALDRIDGE had actual or constructive

 knowledge of the notices.

            24.   Defendant MYLES BALDRIDGE is either a direct or contributory

 infringer of the Work as more particularly described below.

            25.   The true names and capacities, whether individual, corporate, associate

 or otherwise, of Defendants DOES 1-6 are unknown to Plaintiff who therefore sues

 said Defendants DOES 1-6 by such fictitious names. Each Defendant DOES 1-6 is

 known to the Plaintiff only by an Internet Protocol address (“IP address”) at which

 the alleged infringement took place. An IP address is a number that is assigned by

 an Internet Service Provider (an “ISP”) to devices, such as computers, that are

 connected to the Internet. The ISP to which a Defendant subscribes or uses can

 correlate a Defendant’s IP address to a Defendant’s true identity. As shown on

 Exhibit 1 attached hereto, each of the Defendants’ acts of copyright infringement

 occurred using an IP address traced to a physical address located within this District.

 Plaintiff intends to subpoena the ISP that issued the IP addresses in order to learn

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 the identity of the account holders for the IP addresses. Often the account holder

 will be a proper Defendant in this case. However, further discovery may be

 necessary in some circumstances in order to be certain of the identity of the proper

 Defendant. Plaintiff believes that information obtained in discovery will lead to the

 identification of each Defendants’ true names and permit the Plaintiff to amend this

 Complaint to state the same. Plaintiff further believes that the information obtained

 in discovery may lead to the identification of additional infringing parties to be

 added to this Complaint as defendants. Plaintiff will amend this Complaint to

 include the proper names and capacities when they have been determined. Plaintiff

 is informed and believes, and based thereon alleges, that each of the fictitiously

 named Defendants participated in and are responsible for the acts described in this

 Complaint and damages resulting therefrom.

            26.   Upon information and belief, Defendants DOE 1 and DOE 1a are the

 same individual(s) that used the IP address 66.27.41.251 to infringe the Work.

 These individuals also used IP address 66.27.41.251 to infringe the work by a

 different unique has number on May 1, 2018 (DOE 1a).

            27.   Plaintiff alleges on information and belief that Defendant MYLES

 BALDRIDGE either directly or indirectly shared at least a constituent piece of the

 Work to each of the Defendants DOES 1-6.

            28.   Plaintiff alleges on information and belief that each of the Defendants

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 DOES 1-6 named herein performed, participated in, or abetted in some manner, the

 acts alleged herein, proximately caused the damages alleged herein, and are liable

 to Plaintiff for the damages and relief sought herein.

                                           IV.       JOINDER

            29.     Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

 properly joined because, as set forth in more detail below, the Plaintiff asserts that

 the infringement complained of herein by each of the Defendants was part of a series

 of transactions over the course of a relatively short period of time, involving the

 exact same piece of the Plaintiff’s copyrighted Work, and was accomplished by the

 Defendants acting in concert with each other; and there are common questions of

 law and fact.

                                 V.       FACTUAL BACKGROUND

                  A. The Plaintiff Owns the Copyright to the Work

            30.     The Plaintiff is the owner of the copyright for the motion picture for

 the Work entitled “The Hitman’s Bodyguard”, a major motion picture released in

 2017.

            31.     The Work is the subject of copyright registration (Registration Number

 PAu 3-844-508) for the motion picture, and this action is brought pursuant to 17

 U.S.C. § 411. See, Exhibit “2”.

            32.     The Work is a motion picture which contains original material that is

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 copyrightable subject matter under the laws of the United States.

            33.   The motion picture is currently offered for sale in commerce.

            34.   Defendants had notice of Plaintiff’s rights through at least the credits

 indicated in the content of the motion pictures which bore a proper copyright notice.

 See, Exhibit “3”.

            35.   Defendants also had notice of Plaintiff’s rights through general

 publication and advertising and more specifically as identified in the content of the

 motion picture, advertising associated with the motion picture, and packaging and

 copies, each of which bore a proper copyright notice.

            B. Defendants MYLES BALDRIDGE and DOES 1-6 Used BitTorrent To

            Infringe the Plaintiffs’ Copyright

            36.   BitTorrent is one of the most common peer-to-peer file sharing

 protocols (in other words, set of computer rules) used for distributing large amounts

 of data.

            37.   The BitTorrent protocol’s popularity stems from its ability to distribute

 a large file without creating a heavy load on the source computer and network. In

 short, to reduce the load on the source computer, rather than downloading a file

 from a single source computer (one computer directly connected to another), the

 BitTorrent protocol allows users to join a "swarm" of host computers to download

 and upload from each other simultaneously (one computer connected to numerous

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  computers).

             1. Defendant MYLES BALDRIDGE and DOES 1-6 Installed a BitTorrent

  Client onto his or her Computer

             38.   A BitTorrent “Client” is a software program that implements the

  BitTorrent Protocol. There are numerous such software programs which can be

  directly downloaded from the Internet.

             39.   Once installed on a computer, the BitTorrent “Client” serves as the

  user’s interface during the process of uploading and downloading data using the

  BitTorrent protocol.

             40.   Defendants MYLES BALDRIDGE and DOES 1-6 installed a

  BitTorrent Client onto their respective computer.

             2. The Initial Seed, Torrent, Hash and Tracker

             41.   A BitTorrent user that wants to upload a new file, known as an “initial

  seeder,” starts by creating a “torrent” descriptor file using the Client he or she

  installed onto his or her computer.

             42.   The Client takes the target computer file, the “initial seed,” here the

  copyrighted Work, and divides it into identically sized groups of bits known as

  “pieces.”

             43.   The Client then gives each one of the computer file’s pieces, in this


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  case, pieces of the copyrighted Work, a random and unique alphanumeric identifier

  known as a “hash” and records these hash identifiers in the torrent file.

             44.   When another peer later receives a particular piece, the hash identifier

  for that piece is compared to the hash identifier recorded in the torrent file for that

  piece to test that the piece is error-free. In this way, the hash identifier works like

  an electronic fingerprint to identify the source and origin of the piece and that the

  piece is authentic and uncorrupted.

             45.   Torrent files also have an "announce" section, which specifies the URL

  (Uniform Resource Locator) of a “tracker,” and an "info" section, containing

  (suggested) names for the files, their lengths, the piece length used, and the hash

  identifier for each piece, all of which are used by Clients on peer computers to verify

  the integrity of the data they receive.

             46.   The “tracker” is a computer or set of computers that a torrent file

  specifies and to which the torrent file provides peers with the URL address(es).

             47.   The tracker computer or computers direct a peer user’s computer to

  other peer user’s computers that have particular pieces of the file, here the

  copyrighted Work, on them and facilitates the exchange of data among the

  computers.

             48.   Depending on the BitTorrent Client, a tracker can either be a dedicated

  computer (centralized tracking) or each peer can act as a tracker (decentralized

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  tracking.)

             3. Torrent Sites

             49.   “Torrent sites” are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. There are numerous torrent websites.

             50.   Upon information and belief, Defendants MYLES BALDRIGE and

  DOES 1-6 went to a torrent site to upload and download Plaintiff’s copyrighted

  Work.

             4. Uploading and Downloading a Work Through a BitTorrent Swarm

             51.   Once the initial seeder has created a torrent and uploaded it onto one

  or more torrent sites, then other peers begin to download and upload the computer

  file to which the torrent is linked (here the copyrighted Work) using the BitTorrent

  protocol and BitTorrent Client that the peers installed on their computers.

             52.   The BitTorrent protocol causes the initial seeder’s computer to send

  different pieces of the computer file, here the copyrighted Work, to the peers

  seeking to download the computer file.

             53.   Once a peer receives a piece of the computer file, here a piece of the

  copyrighted Work, it starts transmitting that piece to the other peers.

             54.   In this way, all of the peers and seeders are working together in what

  is called a “swarm.”

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             55.   Here, Defendant peer member participated in the same swarm and

  directly interacted and communicated with other members of that swarm through

  digital handshakes, the passing along of computer instructions, uploading and

  downloading, and by other types of transmissions.

             56.   In this way, and by way of example only, one initial seeder can create

  a torrent that breaks a movie up into hundreds or thousands of pieces saved in the

  form of a computer file, like the Work here, upload the torrent onto a torrent site,

  and deliver a different piece of the copyrighted Work to each of the peers. The

  recipient peers then automatically begin delivering the piece they just received to

  the other peers in the same swarm.

             57.   Once a peer has downloaded the full file, the BitTorrent Client

  reassembles the pieces and the peer is able to view the movie. Also, once a peer has

  downloaded the full file, that peer becomes known as “an additional seed,” because

  it continues to distribute the torrent file, here the copyrighted Work.

             5. The Plaintiff’s Computer Investigator Identified the Defendants’ IP

             Addresses as Participants in a Swarm That Was Distributing the Plaintiff’s

             Copyrighted Work

             58.   The Plaintiff retained Maverickeye UG (“MEU”) to identify the IP

  addresses that are being used by those people that are using the BitTorrent protocol

  and the Internet to reproduce, distribute, display or perform the Plaintiff’s

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  copyrighted Work.

             59.   MEU used forensic software to enable the scanning of peer-to-peer

  networks for the presence of infringing transactions.

             60.   MEU extracted the resulting data emanating from the investigation,

  reviewed the evidence logs, and isolated the transactions and the IP addresses

  associated therewith for the files identified by the SHA-1 hash value of the Unique

  Hash Numbers.

             61.   The IP addresses, Unique Hash Number, and hit dates contained on

  Exhibit “1” accurately reflect what is contained in the evidence logs, and show that

  Defendants MYLES BALDRIDGE and DOES 1-6 have copied a piece of the

  Plaintiff’s copyrighted Work identified by the Unique Hash Number.

             62.   The Defendants’ computers used the identified IP address to connect

  to the investigative server from a computer in this District in order to transmit a full

  copy, or a portion thereof, of a digital media file identified by the Unique Hash

  Number.

             63.   MEU’s agent analyzed each BitTorrent “piece” distributed by the IP

  address listed on Exhibit 1 and verified that re-assemblage of the pieces using a

  BitTorrent Client results in a fully playable digital motion picture of the Work.

             64.   MEU’s agent viewed the Works side-by-side with the digital media

  file that correlates to the Unique Hash Number and determined that they were

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  identical, strikingly similar or substantially similar.

                                VI. FIRST CLAIM FOR RELIEF

                                     (Copyright Infringement)

             65.   Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

             66.   Plaintiff is the copyright owner of the Work which contains an original

  work of authorship.

             67.   By using the BitTorrent protocol and a BitTorrent Client and the

  processes described above, Defendants MYLES BALDRIDGE and DOES 1-6

  copied the constituent elements of the registered Work that is original.

             68.   The Plaintiff did not authorize, permit, or provide consent to the

  Defendants MYLES BALDRIDGE and DOES 1-6 to copy, reproduce, redistribute,

  perform, or display the Work.

             69.   As a result of the foregoing, Defendants MYLES BALDRIDGE and

  DOES 1-6 violated the Plaintiff’s exclusive right to: (A) Reproduce the Work in

  copies, in violation of 17 U.S.C. §§ 106(1) and 501; (B) Redistribute copies of the

  Work to the public by sale or other transfer of ownership, or by rental, lease or

  lending, in violation of 17 U.S.C. §§ 106(3) and 501; (C) Perform the copyrighted

  Work, in violation of 17 U.S.C. §§ 106(4) and 501, by showing the Work’s images;

  and, (D) Display the copyrighted Work, in violation of 17 U.S.C. §§ 106(5) and

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  501, by showing individual images of the Work non-sequentially and transmitting

  said display of the Work by means of a device or process to members of the public

  capable of receiving the display (as set forth in 17 U.S.C. § 101’s definition of

  “publicly” display.)

             70.   Defendants’ infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

             71.   By engaging in the infringement alleged in this Complaint, the

  Defendants deprived not only the producers of the Work from income that could

  have been derived when this film was shown in public theaters and offered for sale

  or rental, but also all persons involved in the production and marketing of this film,

  numerous owners of local theaters and retail outlets in Hawai’i and their employees,

  and, ultimately, the local economy. The Defendants’ misconduct therefore offends

  public policy.

             72.   The Plaintiff has suffered damages that were proximately caused by

  the Defendants’ copyright infringement including, but not limited to lost sales, price

  erosion, and a diminution of the value of its copyright.

                              VII. SECOND CLAIM FOR RELIEF

                             (Contributory Copyright Infringement)

             73.   Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

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             74.   By participating in the BitTorrent swarm with others, Defendants

  MYLES BALDRIDGE and DOES 1-6 induced, caused or materially contributed to

  the infringing conduct of others.

             75.   Plaintiffs did not authorize, permit, or provide consent to the

  Defendants MYLES BALDRIDGE and DOES 1-6 inducing, causing, or materially

  contributing to the infringing conduct of others.

             76.   Defendant MYLES BALDRIDGE and DOES 1-6 knew or should have

  known that the other BitTorrent users in a swarm with it were directly infringing

  the Plaintiff’s copyrighted Work by copying constituent elements of the registered

  Work that are original. Indeed, Defendants MYLES BALDRIDGE and DOES 1-6

  directly participated in and therefore materially contributed to others’ infringing

  activities.

             77.   The Defendant MYLES BALDRIDGE and DOES 1-6’s infringements

  were committed “willfully” within the meaning of 17 U.S.C. § 504(c)(2).

             78.   By engaging in the contributory infringement alleged in this

  Complaint, the Defendants MYLES BALDRIDGE and DOES 1-6 deprived not

  only the producer of the Work from income that could have been derived when this

  film was shown in public theaters and offered for sale or rental, but also all persons

  involved in the production and marketing of this film, numerous owners of local

  theaters and retail outlets in Hawai’i and their employees, and, ultimately, the local

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  economy. The Defendant’s misconduct therefore offends public policy.

             79.   The Plaintiff has suffered damages that were proximately caused by

  the Defendants contributory copyright infringement including, but not limited to

  lost sales, price erosion, and a diminution of the value of its copyright.

             WHEREFORE, the Plaintiff respectfully requests that this Court:

             (A) permanently enjoin Defendants from continuing to infringe the Plaintiff’s

  copyrighted Work;

             (B) order that Defendants delete and permanently remove the torrent file

  relating to the Plaintiff’s copyrighted Work from each of the computers under

  Defendant’s possession, custody, or control;

             (C) order that Defendants delete and permanently remove the copy of the

  Work Defendants have on the computers under the Defendants’ possession, custody,

  or control;

             (D) award the Plaintiff either its actual damages and any additional profits of

  the Defendant pursuant to 17 U.S.C. § 504(a)-(b) or statutory damages per

  Defendant pursuant to 17 U.S.C. § 504-(a) and (c), whichever is greater;

             (E) award the Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

  U.S.C. § 505; and

             (F) grant the Plaintiff any and all other and further relief that this Court deems

  just and proper.

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             DATED: Kailua-Kona, Hawaii, August 6, 2018.


                                   CULPEPPER IP, LLLC

                                   /s/ Kerry S. Culpepper
                                   Kerry S. Culpepper
                                   Attorney for Plaintiff




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